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                                           June 19, 2024

BY ELECTRONIC FILING

Hon. Tonianne J. Bongiovanni, U.S.M.J.
Clarkson S. Fisher Federal Building & U.S. Courthouse
402 East State Street
Trenton, New Jersey 08608

Re:    Arbutus Biopharma Corp et al. v. Pfizer Inc. et al., Case No. 3:23-cv-04200-ZNQ-TJB

Dear Judge Bongiovanni:

         We represent the Plaintiffs in the above matter along with our co-counsel for Arbutus
Biopharma Corp., Morrison & Foerster LLP, and co-counsel for Genevant Sciences GmbH, Quinn
Emanuel Urquhart & Sullivan, LLP. We write with respect to Your Honor’s suggestion during
the June 5, 2024 telephone Conference to schedule a hearing on the issues raised in Plaintiffs’
letter to the Court of May 29, 2024.

         During the June 5 Conference, the Court suggested either June 20 or 21 or early next week
for that hearing on the issues in Plaintiffs’ May 29 letter. Defendants have now responded to
Plaintiffs’ letter and thus Plaintiffs submit that these issues are ripe for resolution by the Court.
These issues have remained unresolved notwithstanding substantial efforts to resolve same without
seeking judicial assistance. Plaintiffs served document requests nearly 10 months ago and the
parties have since met and conferred five times and exchanged 10 letters, but these disputes remain.

       For example, one critical issue that needs resolution quickly is Defendants’ refusal to
provide samples of the Accused Product. During the June 5 Conference, Your Honor asked that
Defendants provide a list of expired samples or soon-to-expire samples in its possession.
Defendants did not do that. Rather, Defendants wrote to the Court on June 13 stating that they
proposed to provide Plaintiffs with physical samples of 60 units of each product that is currently
available for release, as well as 60 units of each presentation of the Fall 2024 vaccine when it
becomes available. As Plaintiffs told Defendants, that proposal is not acceptable to Plaintiffs
because it is not an offer to provide samples from different batches/lots, which is what Plaintiffs
requested. Defendants’ continued refusal to provide the samples that Plaintiffs requested is
prejudicing Plaintiffs’ ability to perform testing of those samples in advance of expert discovery.

       Accordingly, the June 20 and 21 dates, as well as any dates early next week, as suggested
by Your Honor, are acceptable to Plaintiffs, and Plaintiffs respectfully request that the Court set a
hearing on one of those dates.
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       Additionally, on June 14, Defendants filed a letter raising issues regarding Plaintiffs’
discovery responses. Plaintiffs respectfully request until June 24 to respond to Defendants’ letter.

       We look forward to hearing from the Court at its earliest convenience and thank Your
Honor for the Court’s consideration and continued assistance.




                                              Arnold B. Calmann


cc: Counsel of record (by CM/ECF and electronic mail)
